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 8                        UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA

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11    ANTWONE STOKES,                                Case No. 1:24-cv-00691-BAM (PC)
12                       Plaintiff,                  ORDER STRIKING UNSIGNED COMPLAINT
                                                     AND REQUIRING PLAINTIFF TO FILE A
13           v.                                      SIGNED COMPLAINT
14    CHEEK, et al.,
                                                     (ECF No. 1)
15                       Defendants.
                                                     THIRTY (30) DAY DEADLINE
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            Plaintiff Antwone Stokes (“Plaintiff”) is a state prisoner proceeding pro se in this civil
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     rights action under 42 U.S.C. § 1983. Plaintiff initiated this action on June 10, 2024 in the
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     Sacramento Division of the United States District Court for the Eastern District of California.
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     (ECF No. 1.) The case was transferred to the Fresno Division on June 13, 2024. (ECF No. 4.)
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            In preparing to screen the complaint, pursuant to 28 U.S.C. § 1915A(a), the Court noted
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     that the document is not signed. (ECF No. 1.)
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            Both the Federal Rules of Civil Procedure and this Court’s Local Rules require that all
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     filed pleadings, motions and papers be signed by at least one attorney of record or by the party
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     personally if the party is unrepresented. Fed. R. Civ. P. 11(a); Local Rule 131(b). As Plaintiff’s
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     complaint is unsigned, the Court must strike it from the record. Plaintiff will be permitted an
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     opportunity to file a signed complaint that complies with the Federal Rules of Civil Procedure and
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                                                       1
        Case 1:24-cv-00691-BAM Document 7 Filed 06/14/24 Page 2 of 2


 1   the Local Rules.

 2          Based on the foregoing, it is HEREBY ORDERED that:

 3          1. Plaintiff’s complaint, filed June 10, 2024, (ECF No. 1), is STRICKEN from the record

 4               for lack of signature;

 5          2. The Clerk of the Court is directed to send to Plaintiff a civil rights complaint form;

 6          3. Within thirty (30) days from the date of service of this order, Plaintiff SHALL file a

 7               signed complaint, or a notice of voluntary dismissal; and

 8          4. Plaintiff is warned that the failure to comply with this order will result in

 9               dismissal of this action, with prejudice, for failure to obey a court order and for

10               failure to state a claim.

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     IT IS SO ORDERED.
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13      Dated:     June 14, 2024                              /s/ Barbara A. McAuliffe              _
                                                       UNITED STATES MAGISTRATE JUDGE
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